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AUG 65 2020
IN THE UNITED STATES DISTRICT COURT

CLERK U.S. DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA, ) Criminal No. 3:20-cr-85—-—
| )
Vv. ) INDICTMENT
)
BRANDON TUMAUSE OWEN, ) T.18 U.S.C. § 922(g)(8)
) T.18 U.S.C. § 924(a)(2)
Defendant. ) T.18U.S.C. § 924(d)
)

T. 28 U.S.C. § 2461(¢)

THE GRAND JURY CHARGES:

COUNT 1
(Unlawful Drug User in Possession of a Firearm)

That on or about June 6, 2020, in the Southern District of Iowa, the defendant,
BRANDON TUMAUSE OWEN, in and affecting commerce, knowingly possessed a
firearm, namely: a 5.56 caliber Smith & Wesson M&P 15 rifle with serial number
TM84722. At the time of the offense, defendant knew he was an unlawful user of a
controlled substance.

This is a violation of Title 18, United States Code, Sections 922(g)(3) and

924(a)(2).
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THE GRAND JURY FINDS:
NOTICE OF FORFEITURE

That upon conviction for the offence alleged in Count 1 of this Indictment, the
defendant, BRANDON TUMAUSE OWEN, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 924(d) and Title 28, United States
Code, Section 2461(c), all firearms, magazines, and ammunition involved in the
commission of said offenses, including, the firearm and ammunition identified in
Count 1 of this Indictment.

This is pursuant to Title 18, United States Code, Section 924(d) and Title 28,
United States Code, Section 2461(c).

A TRUE BILL.

 

FOREPERSON
Marc Krickbaum /
United States Attorney

By: LO oul A

Amanda W. Searle
Assistant United States Attorney
